4:09-cr-03031-RGK-CRZ       Doc # 48    Filed: 09/18/09   Page 1 of 2 - Page ID # 172



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                  4:09CR3031
                                        )
             V.                         )
                                        )
MICHAEL KONING, LOWELL                  )       MEMORANDUM AND ORDER
BAISDEN, and SUSAN BAISDEN-             )
KONING,                                 )
                                        )
                   Defendants.          )


      Defendants Michael Koning and Susan Baisden-Koning have moved to
continue the pretrial motion deadline currently set for September 30, 2009. (Filing
Nos. 45 & 46). Defense counsel request an additional one hundred twenty days, and
explain they needs this additional time to review the extensive discovery materials
(totaling at least 29,000 pages of records to date) received from the government, and
to determine if missing materials can be located and produced. Counsel for the
government does not oppose the requested continuance. The court finds the motions
to continue should be granted.


      IT IS ORDERED:

      1)     Defendant Michael Koning’s and Susan Baisden-Koning’s unopposed
             motions to continue, (filing nos. 45 & 46), are granted, and the
             defendants’ pretrial motions and briefs shall be filed on or before
             January 28, 2010.


      2)     As previously determined, (see filing no. 21, ¶ 6), this case is “unusual
             and complex;” it would be unreasonable for the court to require counsel
             and the parties to be ready for trial within the time restrictions of the
4:09-cr-03031-RGK-CRZ     Doc # 48   Filed: 09/18/09   Page 2 of 2 - Page ID # 173



          Speedy Trial Act; and therefore this case is exempted from the time
          restrictions of that Act. See 18 U.S.C. 3161(h)(7)(B)(ii)


    September 18, 2009.                     BY THE COURT:


                                            Richard G. Kopf
                                            United States District Judge




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